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                                  UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                             :       CASE NO. 04-26497-MBM
                                                   :
RANDY J. GILLETTE                                  :
                                                   :
                                                   :       CHAPTER 7
             Debtor                                :
___________________________                        :
RANDY J. GILLETTE,                                 :       ADVERSARY NO.
                                                   :
                                                   :
                 Plaintiff,                        :
         vs.                                       :
                                                   :
SANDRA L. MILLER,                                  :
                                                   :
                 Defendants.                       :

                                  COMPLAINT TO AVOID PREFERENCE
                                    PURSUANT TO 11 U.S.C. § 547

         NOW COMES the Debtor,Randy J. Gillette, by and through his attorneys, SANTILLAN & EISEN,

P.C., and Michael C. Eisen, Esquire, who files the within COMPLAINT TO AVOID PREFERENCE

PURSUANT TO 11 U.S.C. § 547, of which the following is a statement:

         1.      Petitioner is the Debtor in this Chapter 7 Bankruptcy proceeding. This case was filed

voluntarily by the Debtor on May 14, 2004.

         2.      Jurisdiction of this Honorable Court is based on 28 U.S.C. §§ 1334 and 157. Venue is

this case is established by 28 U.S.C. § 1408.

         3.      The Defendant, Sandra L. Miller, is a disputed creditor of this Debtor. The Defendant

alleges that they are owed approximately $3,239.50.

         4.      The Defendant is provided as an unsecured creditor in the Debtor's Chapter 7 Schedule

of Debts.

         5.      Prior to the filing of the within Bankruptcy case, the Defendant entered a judgment against

the Debtor with District Justice James A. Reed, Lawrence County, Pennsylvania in the amount of

$3,239.50, at Docket Number CV-0000023-03. Said judgment was entered on or about March 14, 2004.

         6.      The judgment obtained by the Defendant constitutes a preferential transfer pursuant to 11

U.S.C. § 547 in that by the entry of the judgment within ninety (90) days prior to the Bankruptcy filing, the
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Defendant has obtained more than would be obtained as a general unsecured creditor if the preference

had not occurred.

        7.      As a preferential transfer, this judgment is avoidable by the Debtor in this Chapter 7

Bankruptcy proceeding pursuant to the provisions of 11 U.S.C. § 547.

        WHEREFORE, the Debtor, Randy J. Gillette, respectfully requests that this Honorable Court enter

an Order avoiding the judicial lien held by the Defendants, Sandra L. Miller.

                                          Respectfully submitted,

                                          SANTILLAN & EISEN, P.C.



Date: 7/29/04                             /s/ Michael C. Eisen
                                          Michael C. Eisen, Esquire
                                          Attorney for the Debtor
                                          650 Corporation Street
                                          Suite 304
                                          Beaver, PA 15009
                                          (724) 770-1040
                                          PA ID No.74523
